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 5 Attorneys for Plaintiff
 6 Michael Zeleny
 7
 8                            UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10
11 MICHAEL ZELENY,                          Case No. CV 17-7357 RS
12        Plaintiff,                        Assigned to:
                                            The Honorable Richard G. Seeborg
13                 vs.
                                            Assigned for Discovery Purposes to:
14 GAVIN NEWSOM, et al.,                    The Honorable Thomas S. Hixson
15        Defendants.                       [PROPOSED] ORDER GRANTING
                                            PLAINTIFF’S MOTION FOR PARTIAL
16                                          SUMMARY JUDGMENT AGAINST
                                            CALIFORNIA ATTORNEY GENERAL
17                                          XAVIER BECERRA AND REQUEST FOR
                                            JUDICIAL NOTICE
18
                                            Filed Concurrently:
19                                          1. Notice of Motion and Motion;
                                            2. Declaration of Damion Robinson; and
20                                          3. Declaration of Michael Zeleny
21                                          Date: February 25, 2021
                                            Time: 1:30 p.m.
22                                          Courtroom 3, 17th Floor
23                                          Action Filed: December 28, 2017
                                            Trial Date: [Not Set]
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                                      [PROPOSED] ORDER
        Case 3:17-cv-07357-RS Document 163-4 Filed 01/21/21 Page 2 of 3



 1                                            ORDER
 2               Plaintiff Michael Zeleny’s Motion for Partial Summary Judgment against
 3 Defendant California Attorney General Xavier Becerra and the accompanying Request for Judicial
 4 Notice came before the Court for hearing on February 25, 2021 at 1:30 p.m.
 5               Having considered the moving, opposing, and reply papers, the evidence
 6 submitted, and the arguments of all counsel, and finding good cause, the Court hereby
 7 GRANTS the Motion and Request as follows:
 8               1. The Request for Judicial Notice is GRANTED and the Court takes judicial
 9                  notice of the requested documents and information; and
10               2. The Motion is GRANTED in full.
11
12               It is SO ORDERED.
13   Dated:
                                                    The Honorable Richard G. Seeborg
14                                                  UNITED STATES DISTRICT JUDGE
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                                         [PROPOSED] ORDER
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 1                                     PROOF OF SERVICE
 2        I hereby certify that on January 21, 2021, I electronically filed the foregoing document
   using the Court’s CM/ECF system. I am informed and believe that the CM/ECF system will
 3 send a notice of electronic filing to the interested parties.
 4                                                    s/ Gabrielle Bruckner
                                                      Gabrielle Bruckner
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                                          [PROPOSED] ORDER
